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                                      IN THE
                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

IN RE:                                                      )        Chapter 11
                                                            )
AUBURN FOUNDRY, INC.,                                       )        Case No. 04-10427-REG
                                                            )
                      Debtor.                               )

            APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE CLAIM
                FOR UNPAID VACATION PAY AND PERSONAL DAYS

       The Glass, Molders, Pottery, Plastics and Allied Workers International Union and its Local

322 (collectively “Union”), by counsel, makes application for the allowance of an administrative

claim on behalf of the bargaining unit employees of Debtor Auburn Foundry, Inc. (“Auburn”) for

unpaid 2005 vacation pay and personal days. In support of its application, the Union states:

       1.      Auburn filed its Chapter 11 petition on 02/08/04.

       2.      The bargaining unit employees of Auburn are represented by the Union.

       3.      The Union and Auburn are parties to a collective bargaining agreement effective

               between 05/03/03 and 05/03/06 (“CBA”). (Exhibit A).

       4.      All bargaining unit employees were laid off as of 04/22/05.

       5.      Section XIII of the CBA contains a provision concerning the payment of vacation

               pay. Pursuant to that provision, bargaining unit employees with a certain number

               of years of continuous service as of June 1st of each calender year are entitled to

               specific amounts of vacation pay. Vacation pay is paid on a pro rata basis for

               employees who are separated from employment prior to June 1st. The bargaining

               unit employees are owed a total of $643,577.06 in pro-rata vacation pay for 06/01/04


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              to 04/22/05. (Exhibit B).

       6.     Section 17.12 of the CBA contains a provision concerning the payment of personal

              days. Pursuant to that provision, bargaining unit employees are paid for unused

              personal days on the contract anniversary date (May 3rd). Personal days are paid on

              a pro rata basis for employees who are separated from employment prior to May 3rd.

               The bargaining unit employees are owed $104,976.80 for pro-rata 2005 personal

              days accrued between 05/03/04 and 04/22/05. (Exhibit B).

       7.     The Union’s claim on behalf of the bargaining unit members of Auburn for unpaid

              2005 vacation pay and personal days, in the total amount of $748,553.86, has the

              status of an allowed administrative claim as provided in Section 503(b) of the

              Bankruptcy Code. 11 U.S.C. § 503 (b).

       For these reasons, the Union urges the Court to approve the Union’s Application for

Allowance Of Administrative Claim For Unpaid Vacation Pay And Personal Days.

                                            Respectfully submitted,

                                            MACEY SWANSON AND ALLMAN

                                             /s/ Richard J. Swanson
                                            Richard J. Swanson, Attorney No. 1605-49
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                                      CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served upon the parties listed in the
attached distribution by electronic mail and/or U.S. First-Class Mail, postage prepaid this 26th day of
April, 2005.

John R. Burns                                          XRI Testing - Troy
Mark A. Werling                                        Mobilex, LLC
Baker & Daniels                                        1961 Thunderbird
111 East Wayne Street                                  Troy, MI 48084
Fort Wayne, IN 46802                                   Fire Protection, Inc.
                                                       Curt & Tim Howard
Ellen L. Triebold                                      750 W. North Street
Office of the United States Trustee                    Auburn, IN 46706
One Michiana Square
Suite 555                                              A.F. Europe, Inc.
100 East Wayne Street                                  635 W. Eleventh St.
South Bend, IN 46601                                   Auburn, IN 46706
DASI Industrie Inc.
                                                       Bank of America
Randall A. Miller
                                                       231 S. LaSalle Street
80 Kendall Point Dr.
Oswego, IL 60543                                       16th Floor
                                                       Chicago, IL 60697
Miller and Company LLC
Robert Overman                                         DeKalb County, Indiana
9700 W. Higgins Road                                   DeKalb County Assessor
Suite 1000                                             100 South Main Street
Rosemont, IL 60018                                     Auburn, IN 46706

Auburn City Utilities                                  GMAC Business Credit, LLC
P. O. Box 506                                          300 Galleria Office Centre
Auburn, IN 46706                                       Suite 110
                                                       Southfield, MI 48034
Dauber Company, Inc.
577 North 18th Road                                    R I Lampus Co.
Tonica, IL 61370                                       816 Railroad Street
                                                       Springdale, PA 15144
Fairmount Minerals
P. O. Box 400                                          Citizens Gas & Coke Utility
Bridgeman, MI 49106
                                                       2950 Prospect Street
                                                       Indianapolis, IN 46203
Miller and Company
6400 Shafer Court, Suite 500
Rosemount, IL 60018                                    Farimount Minerals
                                                       Michelle Pezanoski
Omnisource Corp., - Tusco                              P. O. Box 177
2453 Hill Avenue                                       Wedron, IL 60557
Toledo, OH 43607
                                                       Ashland Chemical Co.


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